                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Harrisonburg Division


   JOHN DOE 4, by and through his next friend,
   NELSON LOPEZ, on behalf of himself and all
   persons similarly situated,                       Civil No. 5: 17-cv-00097-EKD/JCH
                                                     Judge Elizabeth K. Dillon
                  Plaintiffs,

   v.

   SHENANDOAH VALLEY JUVENILE
   CENTER COMMISSION,

                  Defendant.


              PLAINTIFFS' CONSENT MOTION TO MODIFY SCHEDULING ORDER

         Plaintiffs John Doe 4, et al., by and through their Next Friend, Nelson Lopez, by their

  undersigned attorneys, hereby move this Court, subject to the express consent of Defendant

  Shenandoah Valley Juvenile Center Commission, for the entry of an Order modifying the

  currently operative Scheduling Order entered January 22,2018 (ECF Docket No. 19).

         As support for their Consent Motion, Plaintiffs state as follows:

         1.      Under the provisions of the current Scheduling Order, Plaintiffs filed a Motion for

  Preliminary Injunction and supporting papers in this action on February 28, 2018. See ECF Dkt.

  Nos. 33, 34.

         2.      After the completion of briefing on Plaintiffs' Motion with the filing oftheir

  Reply Memorandum on April 4, 2018 (ECF Dkt. No. 50), the Parties, by counsel initiated

  communications with the Court's staffin order to attempt to secure available dates on the

  Court's calendar for the 2.5-3 day hearing on the Motion that counsel believed would be needed.




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          3.      Unfortunately, due to the extensive pre-existing demands on the Court's

  availability, no openings on the calendar sufficient to accommodate the Parties' estimated need

  were readily at hand; the Parties ultimately agreed to set September 10,2018 as the date for

  commencement of the hearing on the Motion for Preliminary Injunction, subject to the

  understanding that this case is second on the Court's docket for that date and that absent a

  settlement or other resolution of the first case on the docket for September 10, the hearing on

  Plaintiffs' Motion would have to be continued.

          4.      In addition to the difficulties associated with scheduling a hearing on the Motion

  for Preliminary Injunction, which neither Party fully anticipated, unexpected developments with

  respect to the status of Named Plaintiffs John Doe 1, John Doe 2 and John Doe 3 -- as described

  more fully in Plaintiffs' Consent Motion for Substitution of Class Representative and supporting

  Memorandum, filed July 27, 2018 (ECF Dkt. Nos. 70, 71) -- required Plaintiffs to prepare and

  file a Second Amended Complaint identifying John Doe 4 as the new Named Plaintiff and

  putative class representative on July 11,2018 (ECF Dkt. No. 68).1

          5.      These changes in the profile of the case and the Parties' need to address them

  have undoubtedly caused delays in the progression of the litigation in general and the conduct of

  discovery in particular.   Notwithstanding these delays, both Parties are of the view than an

  expeditious resolution of the merits of the constitutional claims asserted by Plaintiffs is in all

  sides' best interest. At this point, the Parties' shared belief is that the best course to achieve this

  objective is to maintain the currently-established       Trial Date of December 3, 2018, but subject to

  significant modifications to the existing Scheduling Order which are necessary in order to allow




          This Court granted Plaintiffs' Motion for Substitution and designated Plaintiff Doe 4 as
  class representative by Order dated August 8, 2018 (ECF Dkt. No. 72).

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  the Parties an ambitious, but fair and balanced, opportunity to prepare their respective cases for

  trial.

           6.    Accordingly, and subject to the understanding that the modifications proposed

  below must be agreeable and acceptable to the Court, the Parties jointly propose a modified

  schedule consisting of the following elements:

                 a.      Plaintiffs hereby withdraw, without prejudice, their pending
                         Motion for Preliminary Injunction, as well as their demand for
                         Trial by Jury.

                 b.      Discovery, currently suspended per informal agreement of counsel,
                         shall formally resume in all aspects as of the date of entry of the
                         Amended Scheduling Order by this Court.

                 c.     Thereafter, this case shall proceed to trial in accordance with the
                        following schedule.

                          1.          September 7,2018              Deadline for Plaintiffs'
                                                                    Disclosures regarding
                                                                    Trial Experts

                          2.          September 28,                 Deadline for
                                      2018                          Defendants'
                                                                    Disclosures regarding
                                                                    Trial Experts; Deadline
                                                                    for Completion of Fact
                                                                    Discovery

                         3.          October 8, 2018                Deadline for Plaintiffs'
                                                                    Rebuttal Expert
                                                                    Disclosures

                         4.          October 15,2018                Deadline for
                                                                    Completion of Expert
                                                                    Depositions and Close
                                                                    of Discovery

                         5.          October 22, 2018               Deadline for
                                                                    Submission of
                                                                    Dispositive Motions
                                                                    and Motions to Exclude
                                                                    Experts



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                           6.          November 5, 2018               Oppositions to
                                                                      Dispositive Motions
                                                                      and Motions to Exclude
                                                                      Experts

                           7.          November 12,                   Replies concerning
                                       2018                           Dispositive Motions
                                                                      and Motion to Exclude
                                                                      Experts; Deadline for
                                                                      Exchange of Trial
                                                                      Witness and Trial
                                                                      Exhibit Lists,
                                                                      Deposition
                                                                      Designations and filing
                                                                      of Motions in Limine

                           8.          November 19,                   Oppositions to Motions
                                       2018                           in Limine; Deadline for
                                                                      Objections to
                                                                      Deposition
                                                                      Designations and
                                                                      Exchange of
                                                                      Counterdesignations

                           9.          November 26,                   Combined Omnibus
                                       2018                           Hearing on All Pending
                                                                      Motions and Joint
                                                                      Pretrial Conference

          7.     Although the Parties fully understanding and appreciate that the truncated

  schedule they have suggested would impose very significant burdens and obligations upon the

  Court and its staff as well as upon each other, they are hopeful that the Court would be agreeable

  to work with the Parties to keep the case on track for a December 2018 trial in light of the

  urgency with which injunctive relief is needed in the event the Plaintiffs' claims are proved

  meritorious at trial, as well as the Defendants' compelling interest in the public vindication of its

  operations, practices and procedures if Plaintiffs' claims are disproved.




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                                             CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully suggest that this Consent Motion to

  Modify Scheduling Order should be granted.

  DATED:        August 14,2018

                                       Respectfully submitted,

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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Harrisonburg Division


  JOHN DOE 4, by and through his next friend,
  NELSON LOPEZ, on behalf of himself and all
  persons similarly situated,                       Civil No. 5: 17-cv-00097-EKD/JCH
                                                    Judge Elizabeth K. Dillon
                  Plaintiffs,

  v.

  SHENANDOAH VALLEY JUVENILE
  CENTER COMMISSION,

                  Defendant.


                                              ORDER

         This matter comes before the Court for decision on the Consent Motion of Plaintiffs'

 John Doe 4, et al., to Modify the Scheduling Order currently in effect in this case, entered

 January 22, 2018 (ECF Docket No. 19). For the reasons set forth in the Consent Motion, the

 Court finds that good cause for the relief requested has been shown, and that the Motion

 therefore should be GRANTED.

         Accordingly, the Court hereby vacates the prior Scheduling Order; removes the hearing

 on Plaintiffs' Motion for Preliminary Injunction provisionally set for September 10-13,2018,

 from the Court's calendar in light of Plaintiffs' determination to withdraw that Motion without

 prejudice; and imposes a new procedural schedule pursuant to which the Parties shall prepare

 this case for Trial as follows:

                          September 7,2018             Deadline for Plaintiffs'
                                                       Disclosures regarding
                                                       Trial Experts




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                    September 28,          Deadline for
                    2018                   Defendants'
                                           Disclosures regarding
                                           Trial Experts; Deadline
                                           for Completion of Fact
                                           Discovery

                    October 8, 2018        Deadline for Plaintiffs'
                                           Rebuttal Expert
                                           Disclosures

                    October 15,2018        Deadline for
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                   November 12,           Replies concerning
                   2018                   Dispositive Motions
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                   2018                   in Limine; Deadline for
                                          Objections to
                                          Deposition
                                          Designations and
                                          Exchange of
                                          Counterdesignations




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                    November 26,               Combined Omnibus
                    2018                       Hearing on All Pending
                                               Motions and Joint
                                               Pretrial Conference

       SO ORDERED this _ day of August 2018.




                                               The Hon. Elizabeth K. Dillon
                                               U.S. District Court Judge




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                                    CERTIFICATE       OF SERVICE

         I hereby certify that on this 14th day of August 2018, a true and correct copy of the

  foregoing Plaintiffs' Consent Motion to Modify Scheduling Order was served via the Court's

  electronic case filing system upon the following:

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                                                Theo~'




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